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                                                                   United States Bankruptcy Court
                                                                               District of Nevada
      In re     Fortem Resources, Inc.                                                                         Case No.      21-14823 -nmc
                                                                                         Debtor(s)             Chapter       11

                                                             LIST OF EQUITY SECURITY HOLDERS
    Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

     Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
     business of holder
     Albert F/Patricia A Reitz Jt Ten                                                     20,000                          0.016%
     7048 Kimberley Lane
     Shawnee, KS 66218

     Alberta Ltd.                                                        Restricted       100,000                         0.082%
     PO Box 1052 STN
     Main Okotoks AB T1S 1B1
     CANADA

     Alessia Zen                                                                          5,000                           0.004%
     5628 Frances St
     Burnaby BC V5B 1T8
     Canada

     All Day Vapes Inc.                                                                   150,000                         0.122%
     225,20316 56 Ave
     Langley BC V3A 3Y7
     Canada

     Andrea Undseth                                                      Restricted       40,000                          0.033%
     4411 Stone Crescent
     West Vancouver BC V7W 1B8
     Canada

     BC Ltd.                                                             Restricted       6,250                           0.005%
     21481 Donovan Ave
     Maple Bridge BC V2X BL9
     CANADA

     Blue Phoenix Energy LLC                                             Restricted       20,000,000                      16.317%
     1155 Blake Street, Suite 1002
     Denver, CO 80202

     Boutique Services Limited                                           Restricted       9,375                           0.008%
     Suite 607-9, 6/F Wing on House
     Des Voeunx Rd.
     Central Hong Kong, Hong Kong

     Brent L Jones Trust                                                 Restricted       12.500                          0.010%
     11506 West Ricks Circle
     Dallas, TX 75230

     Cede & Co.                                                                           15,302,228                      12.484%
     570 Washington Blvd.
     Jersey City, NJ 07310




    Sheet 1 of 9 in List of Equity Security Holders
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     In re:    Fortem Resources, Inc.                                                                 Case No. 21-14823 -nmc
                                                                                         Debtor(s)



                                                          LIST OF EQUITY SECURITY HOLDERS
                                                                              (Continuation Sheet)

     Name and last known address or place of                             Security Class Number of Securities          Kind of Interest
     business of holder

     Chamonix Canada nc.                                                 Restricted       657,142                     0.536%
     906 12th Ave SW, Suite 820
     Calgary AB T2R 1K7
     Canada

     Charles Scott Martin                                                                 30,000                      0.024%
     3119 W 150th Terr
     Overland Park, KS 66224

     Chris L Hamilton                                                                     7,675                       0.006%
     1143 Cottonwood Ave
     Coquitlam BC V3J 2T4
     Canada

     Christian Sharifi                                                   Restrictd        50,000                      0.041%
     1001-Victory Ship Way
     North Vancouver BC V7L 0E2
     Canada

     CNK Enterprises Inc.                                                Restricted       2,000,000                   1.632%
     380-475 West George St
     Vancouver BC V6B 4M9
     Canada

     Curtis Ellis                                                                         120,000                     0.098%
     3601 W. 138th Street
     #1410
     Leawood, KS 66224

     Darren Hayes                                                                         1,250,000                   1.020%
     4117 Mountain Hwy
     North Vancouver BC V7K 2J7
     Canada

     Davina S. Lockhart                                                  Restricted       16,448                      0.013%
     20 Bluewater Circle
     Holiday Island, AR 72631

     Dr. Larry Lu Inc.                                                   Restricted       60,000                      0.049%
     107-18640 Fraser Hwy
     Surrey BC V3S 7Y4
     Canada

     Durval Terceira                                                                      8,333                       0.007%
     185 Columbus Ave
     Vaghan ON L4L 7K3
     Canada



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     In re:    Fortem Resources, Inc.                                                                 Case No. 21-14823 -nmc
                                                                                         Debtor(s)



                                                          LIST OF EQUITY SECURITY HOLDERS
                                                                              (Continuation Sheet)

     Name and last known address or place of                             Security Class Number of Securities          Kind of Interest
     business of holder

     E.S.E. Inc.                                                         Restricted       625,000                     0.049%
     20 Bluewater Circle
     Holiday Island, AR 72631

     Emilio Casaluce                                                                      15,477                      0.013%
     26 Arnhem Court
     Waterdown ON L0R 2H5
     Canada

     Financial Insights                                                  Restricted       25,000                      0.020%
     2082 SE Bristol Street
     Suite 209
     Newport Beach, CA 92660

     Francisco Paulo                                                                      4,167                       0.003%
     462 Ossington Avenue
     Toronto N M6G 3T2
     Canada

     Gerlach & Co c/o Citibank N.A.                                      Restricted       1,850,000                   1.509%
     333 W. 34th St Frnt
     3 Fl
     New York, NY 10012-2417

     Glenn Landes                                                        Restricted       155,714                     0.127%
     611 Flory Lane
     Englewood, OH 45322

     Grassy Butte Energy, Ltd.                                           Restricted       30,000                      0.024%
     14002 Prairie Ln.
     Williston, ND 58801

     Grassy Butte LLC                                                    Restricted       1,867,670                   1.524%
     14002 Prairie Lane
     Williston, ND 58801-9131

     Harold A. Krueger II                                                                 20,000                      0.016%
     333 Las Olas Way #1505
     Fort Lauderdale, FL 33301

     Herbert T. Schmidt                                                  Restricted       750,000                     0.612%
     22840 Dolorosa Street
     Woodland Hills, CA 91367

     Hock Lee Ooi                                                                         4,168                       0.003%
     801-3515 Kariya Drive
     Mississauga N L5B 0C1
     Canada


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     In re:    Fortem Resources, Inc.                                                                   Case No. 21-14823 -nmc
                                                                                          Debtor(s)



                                                          LIST OF EQUITY SECURITY HOLDERS
                                                                                 (Continuation Sheet)

     Name and last known address or place of                             Security Class Number of Securities            Kind of Interest
     business of holder

     Holloman Value Holdings, LLC                                        Restricted        283,334                      0.231%
     333 N. Sam Houston Parkway E
     Houston, TX 77060

     James Douglas Brown                                                 Restricted        31,250                       0.025%
     16E Les Roseyres
     Gron
     Vaud 1882 SWITZERLAND

     James Melo                                                                            8,334                        0.007%
     153 Sierra Court
     Maple ON L6A 2L8
     Canada

     Jason Rubin                                                                           62,500                       0.051%
     4335 Vannuys Blvd #302
     Sherman Oaks, CA 91403

     Jason Silvestre                                                                       10,000                       0.008%
     2133 Douglas Road Unit 2001
     Burnaby BC V5C 0E9
     Canada

     Jim O'Callaghan                                                     Restricted        600,000                      0.490%
     3 Meridian Residence Apt. 5A
     Minsija Street
     St. Julians 1968 Malta

     JM Magna Holdings LLC                                               Restricted        17,500,000                   14.277%
     153 Sierra Court
     Maple ON L6A 2L8
     Canada

     John Wheeler                                                        5,000             0.004%
     20061 22 Ave
     Langley BC V2Z 1X4
     Canada

     Kenneth D Liupakka                                                                    40,000                       0.033%
     6196 Summerhill Dr
     Hudsonville, MI 49426

     Kent Filbrun                                                        Restricted        150,000                      0.122%
     PO Box 372
     Brookville, OH 45309

     Kevin J Kruse                                                                         50,000                       0.041%
     11935 Haskins St
     Overland Park, KS 66213

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     In re:    Fortem Resources, Inc.                                                                  Case No. 21-14823 -nmc
                                                                                         Debtor(s)



                                                          LIST OF EQUITY SECURITY HOLDERS
                                                                              (Continuation Sheet)

     Name and last known address or place of                             Security Class Number of Securities           Kind of Interest
     business of holder

     Konstantinos Koutoumanos                                                             14,286                       0.012%
     9 Curran Court
     Kity City ON L7B 1B4
     Canada

     Kraig Jeffrey Kasler                                                Restricted       342,847                      0.280%
     235 Trotters Ridge
     Fayetteville, GA 30215

     Lai Chi Hung Ricky                                                                   1,250,000                    1.020%
     7B Bloc 2, 25 Tai Hang Drive
     Jardine's Lookout
     Hong Kong

     Larca Pty Ltd                                                       Restricted       1,650,000                    1.346%
     Unit 8-9
     88 Forrest Street
     Cottesole, Western Australia 6011

     Laura Morales-Mejia                                                                  8,334                        0.007%
     127 Rainbow Drive
     Woodbridge ON L4L 2K6
     Canada

     Lloyd Robinson                                                                       333,334                      0.272%
     1377 Cammeray Road
     West Vancouver BC V7S 2N3
     Canada

     LPD Ltd                                                             Restricted       7,760                        0.006%
     PO Box 730
     Kirriemuir AB T0C 1R0
     Canada

     MAB Resources Holdings LLC                                          Restricted       17,500,000                   14.277%
     1155 Blake Street, Suite 1002
     Denver, CO 80202

     Mark Ciborowski                                                     Restricted       1,799,049                    1.468%
     PO Box 443
     Concord, NH 03302

     Mark E Jones Trust                                                  Restricted       12.500                       0.010%
     11506 West Ricks Circle
     Dallas, TX 75230




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     In re:    Fortem Resources, Inc.                                                                  Case No. 21-14823 -nmc
                                                                                         Debtor(s)



                                                          LIST OF EQUITY SECURITY HOLDERS
                                                                              (Continuation Sheet)

     Name and last known address or place of                             Security Class Number of Securities           Kind of Interest
     business of holder

     Masoud Alikashani                                                                    75,000                       0.061%
     1192 Keith Rd West
     Vancouver BC V7T 1M8
     Canada

     Massimo Conte                                                                        721,904                      0.589%
     1130 Little Cres
     Milton ON L9T 6T2
     Canada

     Michael Catano                                                      Restricted       75,000                       0.612%
     67 East 5th Avenue
     Vancouver BC V5T 1G7
     Canada

     Natalie Kadi                                                                         66,666                       0.054%
     365 East Street North
     Vancouver BC V71 3C8
     Canada

     Nima Alikashani                                                                      200,000                      0.163%
     1192 Keith Rd West
     Vancouver BC V7T 1M8
     Canada

     Pacific Petroleum LLC                                               Restricted       17,500,000                   14.277%
     1503 Commercial Drive
     Vancouver BC V5L 3Y1
     Canada

     Paolo Rubino                                                        Restricted       1,212,500                    0.989%
     6868 267 St
     Langley BC V4W 1W2
     Canada

     Paul R. Zen                                                                          10,000                       0.008%
     5628 Frances St
     Burnaby BC V5B 1T8
     Canada

     Peter Heber-Percy                                                   Restricted       37,500                       0.031%
     3E Block1
     25 Tai Hang Drive
     Jardine's Lookout Hong Kong

     Piotr Kalicki                                                       Restricted       250,000                      0.204%
     6437 Nelson Ave
     West Vancouver BC V7W 2A5
     Canada

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     In re:    Fortem Resources, Inc.                                                                 Case No. 21-14823 -nmc
                                                                                         Debtor(s)



                                                          LIST OF EQUITY SECURITY HOLDERS
                                                                              (Continuation Sheet)

     Name and last known address or place of                             Security Class Number of Securities          Kind of Interest
     business of holder

     Precision Asset Consulting Executives In                            Restricted       1,680,000                   1.371%
     67 East 5th Avenue
     Vancouver BC V5T 1G7
     Canada

     Randall J/Brenda K Phillips JTWROS                                  Restricted       250,000                     0.204%
     849 San Fernando Ln
     New Braunfels, TX 78132

     Ray E. Jones                                                        Restricted       50,000                      0.041%
     11506 West Ricks Circle
     Dallas, TX 75230

     Raymond Santo                                                                        40,000                      0.033%
     PO Box 1012
     Independence, MO 64051

     Raymond Simkus                                                                       25,000                      0.020%
     4659 Saddlehor Cres
     Langley BC V2Z 2L7
     Canada

     Richard Weihs                                                                        50,000                      0.041%
     5278 185A St
     Surrey BC V3S 7A4
     Canada

     Rim Kadi                                                            Restricted       66,666                      0.054%
     365 East 22nd Street North
     North Vancouver BC V71 3C8
     Canada

     RJ&O Management Company                                                              140,000                     0.114%
     8340 Sheffield St
     Omaha, NE 68122

     Robert Anthony Rosson                                                                4,000                       0.003%
     6535 W 134th TGer
     Overland Park, KS 66209

     Robert Buljevic                                                     Restricted       162,847                     0.133%
     824 Burnaby Street
     New Westminister BC V3L 4V9
     Canada

     Robert C. Da Cunha                                                  Restricted       300,000                     0.245%
     68 Armstrong Avenue
     Toronto ON M6H 1V8
     Canada

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     In re:    Fortem Resources, Inc.                                                                 Case No. 21-14823 -nmc
                                                                                         Debtor(s)



                                                          LIST OF EQUITY SECURITY HOLDERS
                                                                              (Continuation Sheet)

     Name and last known address or place of                             Security Class Number of Securities          Kind of Interest
     business of holder

     Robert C. Wesolak                                                   Restricted       250,000                     0.204%
     3 Father Point
     Houston, TX 77024

     Robert Potocnik                                                     Restricted       10,000                      0.008%
     33 Harvard Ave
     Toronto ON M6R 1C6
     Canada

     Rockies Standard Oil Company, LLC                                   Restricted       250,000                     0.204%
     1411 East 840 North
     Orem, UT 84097

     Russell Via                                                         Restricted       482,857                     0.394%
     270 Trotters Ridge
     Fayetteville, GA 30215

     S&P Oil Ventures Ltd                                                Restricted       1,250,000                   1.020%
     1330-1075 West Georgia Street
     Vancouver BC V6E 3C9
     Canada

     Sovereign Services Limited                                          Restricted       6,250                       0.005%
     Suite 7B, Block 2
     Rousdale Garden, 25 Tai Hang Drive
     Jardine's Lookout, Hong Kon SAR, China

     Squin Switzerland                                                                    00,000                      0.571%
     Rosenwg 8B
     BAAR CH-6340
     Switzerland

     Tonya R Egger Trust                                                 Restricted       12.500                      0.010%
     11506 West Ricks Circle
     Dallas, TX 75230

     Tryon N./Delores A. Sisson, Trustees                                                 1,500,000                   1.224%
     Tryon and Dolores Sisson Living Trust
     1279 Westwind Circle
     Westlake Village, CA 91361

     Tryon N./Delores A. Sisson, Trustees                                Restricted       6,797,396                   5.546%
     Tryon and Dolores Sisson Living Trust
     1279 Westwind Circle
     Westlake Village, CA 91361




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     In re:    Fortem Resources, Inc.                                                                        Case No. 21-14823 -nmc
                                                                                         Debtor(s)



                                                          LIST OF EQUITY SECURITY HOLDERS
                                                                              (Continuation Sheet)

     Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
     business of holder

     Uni Harvest Investments Limited                                     Restricted       9,375                                     0.008%
     PO Box 3321 Drake Chamberd Rd
     Town Tortola
     British Virgin Islands

     Vince Di Salvo                                                      Restricted       500,000                                   0.408%
     3195 East 5th Avenue
     Vancouver BC V5M 1P2
     Canada

     Wai Man Leung                                                       Restricted       60,000                                    0.049%
     3503-24 Hemlock Cres
     Calgary AB T3C 2Z1
     Canada

     Wem Dragon, LLC                                                     Restricted       250,000                                   0.204%
     1411 East 840 North
     Orem, UT 84097

     Yufeng Zhu                                                                           50,000                                    0.041%
     #208 1590 Bellevue Ave West
     Vancouver BC V7V 1A7
     Canada


    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

             I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury
    that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
    and belief.



     Date October 19, 2021                                                        Signature
                                                                                                Marc A. Bruner

                           Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                            18 U.S.C. §§ 152 and 3571.




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